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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA,

              Plaintiff,
                                                           File No: 1:11-CR-343
v.
                                                           HON. ROBERT HOLMES BELL
SUZANNE CHERRE ALGUARELLES,


              Defendant.
                                           /


                           ORDER AND JUDGMENT
                   APPROVING REPORT AND RECOMMENDATION

       The Court has reviewed the Report and Recommendation filed by the United States

Magistrate Judge in this action. The Report and Recommendation was duly served on the parties,

and no objection has been made thereto within the time required by law.

       THEREFORE, IT IS ORDERED that:

       1.     The Report and Recommendation of the Magistrate Judge (docket # 80) is approved

and adopted as the opinion of the Court.

       2.     Defendant's plea of guilty is accepted and defendant is adjudicated guilty of the

charges set forth in the Superseding Felony Information.

       3.     The written plea agreement is hereby continued under advisement pending sentencing.




Dated: August 30, 2012                              /s/ Robert Holmes Bell
                                                    ROBERT HOLMES BELL
                                                    UNITED STATES DISTRICT JUDGE
